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                                              Dey's Medicare/Medicaid Witness List

                                                                                                                      Date of Designation (if
                   Last Known Address/Phone #                                 Intent to Call in Medicare/Medicaid     Witness May be Called by
Name               (if witness may be called live) Affiliation                Trial                                   Deposition)
Anderson, Jesse                                    State Medicaid: Oregon     May Call by Deposition Designations     12/16/2008
                                                   State Medicaid: Rhode
Avarista, Paula                                    Island                     Will Call by Deposition Designations    12/4/2008

                                                                              Listed as May Call by the DOJ; if not,
Bahr, Debra                                        State Medicaid: Kentucky   Dey Will Call by Deposition Designations 01/29/2008, 01/30/2008
                   3453 Newark Street NW,
                   Washington, D.C. 20016                                     Listed as May Call by the DOJ; if not,
Berenson, Robert   202-686-2727                    CMS                        Dey Will Call by Deposition Designations 12/18/2007
                   8024 Ridgely Oak Road
                   Baltimore, MD                                              Listed as May Call by the DOJ; if not,
Booth, Charles     410-668-2048                    CMS                        Dey May Call by Deposition Designations 4/23/2007, 10/29/2007
Bowen, Marianne                                    CMS                        May Call by Deposition Designations     6/5/2007

Boyd, Dennis                                       State Medicaid: Kentucky   May Call by Deposition Designations     6/4/2008
                   201C Baldwin Hall
                   Department of Public
                   Administration & Policy
                   University of Georgia
Bradford, W.       Athens, GA 30602
David, Ph.D.       706-542-2731                    Expert                     Will Call Live

Bridges, Suzette                                   State Medicaid: Arkansas   Will Call by Deposition Designations    12/10/2008, 12/11/2008
                   120 Canyon Drive
                   Napa, CA 94558                                             Listed as May Call by the DOJ; if not,
Bronstein, Debra   707-224-1153                    Dey                        Dey May Call by Deposition Designations 3/11/2003
Bruce, Tamara                                      CMS                        May Call by Deposition Designations     11/6/2008
Bryant, Joseph                                     CMS                        May Call by Deposition Designations     11/15/2007
                   11 Suncrest Drive
                   Waterford, NY 12188                                        Will Call Live or by Deposition
Burridge, Craig    518-869-6595                    PSSNY                      Designations                            4/22/2008
                   7500 Security Boulevard
                   Baltimore, MD 21244                                        Listed as May Call by the DOJ; if not,
Buto, Kathleen,    410-786-3000                    CMS                        Dey May Call by Deposition Designations 9/12/20007, 9/13/2007


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                                               Dey's Medicare/Medicaid Witness List

                                                                                                                       Date of Designation (if
                    Last Known Address/Phone #                                 Intent to Call in Medicare/Medicaid     Witness May be Called by
Name                (if witness may be called live) Affiliation                Trial                                   Deposition)
                                                                                                                       08/19/2008, 08/20/2008,
Campana, David                                      State Medicaid: Alaska     Will Call by Deposition Designations    08/21/2008
                                                    Compendia (First
Chadwick, Kathy                                     DataBank)                  May Call by Deposition Designations     10/24/2007
Chapman, Allen                                      State Medicaid: Colorado   Will Call by Deposition Designations    12/15/2008

Cheloha, Gary                                       State Medicaid: Nebraska Will Call by Deposition Designations      12/02/2008, 12/03/2008
                    48 Hickory Bend Drive
                    Cabot, AR 72023                                            Listed as May Call by the DOJ; if not,
Chesser, Paul       501-225-8114                    OIG                        Dey May Call by Deposition Designations 6/24/2008, 10/28/2008

                                                                             Listed as May Call by the DOJ; if not,
Cioppa, Carl                                        State Medicaid: New York Dey Will Call by Deposition Designations 3/10/10, 3/11/10
                    3426 Duck Avenue                                         Listed as May Call by the DOJ; if not,
                    Key West, FL 33040                                       Dey May Call Live or by Deposition       1/18/2008, 3/4/2008,
Cobo, Luis          305-292-1635                    Ven-A-Care               Designations                             7/31/2008

Collins, Theodore                                   State Medicaid: Wisconsin May Call by Deposition Designations      10/30/2007, 12/20/2007
Cottrell, Danny                                     Pharmacist                May Call by Deposition Designations      8/30/2007
                                                    State Medicaid:
Davis, Myra                                         Washington                May Call by Deposition Designations      12/3/2008
Decker,
Christopher                                         Pharmacist               May Call by Deposition Designations       12/11/2006
                                                                             Listed as Expect to Call by the DOJ; if
                                                                             not, Dey Will Call by Deposition
Denemark, Cynthia                                   State Medicaid: Delaware Designations                              12/09/2008, 12/10/2008
                    4229 Leland Street
DeParle, Nancy      Chevy Chase, MD 20815                                      Listed as May Call by the DOJ; if not,
Ann                 301-656-4104                    CMS                        Dey May Call by Deposition Designations 5/18/2007, 12/5/2007
                                                                                                                       04/29/2008, 07/20/2009,
Donovan, Lynn                                       State Medicaid: Hawaii     Will Call by Deposition Designations    08/26/2009
Driver, Rhonda                                      State Medicaid: Missouri   May Call by Deposition Designations      10/18/2007




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                                                Dey's Medicare/Medicaid Witness List

                                                                                                                          Date of Designation (if
                     Last Known Address/Phone #                                 Intent to Call in Medicare/Medicaid       Witness May be Called by
Name                 (if witness may be called live) Affiliation                Trial                                     Deposition)
                     2 Peachtree Street
                     Atlanta, GA 30303                                          Will Call Live or by Deposition
Dubberly, Jerry      404-656-4507                    State Medicaid: Georgia    Designations                              12/15/2008

                                                    State Medicaid:             Listed as May Call by the DOJ; if not,
Dudley, Evelyn                                      Connecticut                 Dey May Call by Deposition Designations 05/16/2005, 06/22/2005
Duerr, Gary                                         State Medicaid: Idaho       Will Call by Deposition Designations    12/3/2009
                     7500 Security Boulevard
                     Baltimore, MD 21244                                        Listed as May Call by the DOJ; if not,   2/27/2008, 3/26/2008,
Duzor, Deidre        410-786-3000                   CMS                         Dey Will Call by Deposition Designations 10/30/2007
                     4150 Iowa Street
                     Indianapolis, Indiana, 46203                               Will Call Live or by Deposition           8/26/2008, 8/27/2008,
Eiler, Cheryl        317-356-5998                   DMERC (Administar)          Designations                              8/28/2008, 9/23/2008
                     782 Tim Tam Avenue
                     Gahanna, OH 43230
Erick, Matthew       614-855-0819                   Wholesaler (Cardinal)       May Call by Deposition Designations       6/17/2008, 6/27/2008
                     460 Silver Hollow Drive
                     Walnut Creek, CA 94598
Factor, Saul         925-947-2680                   Wholesaler (McKesson)       May Call by Deposition Designations       6/20/2008, 9/4/2008
                                                                                Listed as Expect to Call by the DOJ; if
                                                    State Medicaid: New         not, Dey Will Call by Deposition
Farrand, Lise                                       Hampshire                   Designations                              10/28/2008
                                                                                                                          05/23/2007, 05/24/2007,
Finch, Mary                                         State Medicaid: Alabama     May Call by Deposition Designations       08/08/2007, 08/09/2007

Fine, Joseph                                        State Medicaid: Maryland    May Call by Deposition Designations       12/9/2008

Frawley, Stephanie                                  State Medicaid: Alabama     May Call by Deposition Designations       6/26/2007
                     4267 Kingsford Drive                                       Listed as Expect to Call by the DOJ; if
                     Napa, CA 94558                                             not, Dey May Call Live or by Deposition
Galles, Todd         707-255-2565                   Dey                         Designations                              2/28/2006, 3/1/2006
                     7500 Security Boulevard                                    Listed as May Call by the DOJ; if not,
                     Baltimore, MD 21244                                        Dey Will Call Live or by Deposition
Gaston, Sue          410-786-3000                   CMS                         Designations                              1/24/2008, 3/19/2008



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                                               Dey's Medicare/Medicaid Witness List

                                                                                                                          Date of Designation (if
                    Last Known Address/Phone #                                     Intent to Call in Medicare/Medicaid    Witness May be Called by
Name                (if witness may be called live) Affiliation                    Trial                                  Deposition)
George, Brenda                                      State Medicaid: Alabama        May Call by Deposition Designations    6/12/2008
                                                    State Medicaid:
Gilmore, Gary                                       Massachusetts                  May Call by Deposition Designations    7/26/2007
Gladden, Patricia                                   State Medicaid: Texas          May Call by Deposition Designations    1/15/2009
                    819 Garfield Drive
                    Petaluma, CA 94954
Gmeiner, Eve        707-766-1729                    Dey                        May Call by Deposition Designations        1/20/2003
                                                                               Listed as Expect to Call by the DOJ; if
                                                                               not, Dey Will Call by Deposition           03/19/2008, 05/06/2009,
Gorospe, Kevin                                      State Medicaid: California Designations                               09/22/2008, 12/03/2008
                    2300 W. White Oaks Drive
                    Springfield, IL 62704
Gottrich, Ron       217-698-5938                    State Medicaid: Illinois       May Call Live

Grossman, Steven                                    Pharmacist                     May Call by Deposition Designations    10/24/2007
                    960 Water Grove Court
Gurchiek,           Roswell, GA 30075                                              May Call Live or by Deposition
Christopher         678-297-2070                    Dey                            Designations                           5/3/2002
                    7500 Security Boulevard
Gustafson,          Baltimore, MD 21244                                            Listed as May Call by the DOJ; if not,
Thomas              410-786-3000                    CMS                            Dey May Call by Deposition Designations 9/28/2007, 12/17/2007
                    14400 Tomahawk Creek
                    Parkway
Hansen, Allan       Leawood, KS 66211                                              Will Call Live or by Deposition
Tracy               913-938-4711                    Myers & Stauffer               Designations                           12/10/2008, 12/11/2008
Harper, Leslie                                      State Medicaid: Texas          May Call by Deposition Designations    1/27/2009
Hautea-Wimpee,                                      State Medicaid:
Ayuni                                               Washington                     Will Call by Deposition Designations   11/24/2008, 12/02/2008
Hayashi, Keith                                      State Medicaid: Virginia       May Call by Deposition Designations    12/4/2008
                  1812 S. Cog Mill Ct.
                  Springfield, IL 62704
Hazelwood, Marvin (217) 787-6252                    State Medicaid: Illinois       May Call Live




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                                              Dey's Medicare/Medicaid Witness List

                                                                                                                       Date of Designation (if
                    Last Known Address/Phone #                              Intent to Call in Medicare/Medicaid        Witness May be Called by
Name                (if witness may be called live) Affiliation             Trial                                      Deposition)
                    American Enterprise Institute
                    1150 17th St., N.W.
Helms, Robert,      Washington, D.C. 20036
Ph.D.                202-862-5877                   Expert                  Will Call Live
                    2 Vantage Way                                           Listed as Expect to Call by the DOJ; if
                    Nashville, TN 37228                                     not, Dey will Call Live or by Deposition
Helton, Carolyn     615-782-4500                    DMERC (CIGNA)           Designations                               3/13/2008, 10/16/2009

Hillblom, Douglas                                State Medicaid: California May Call by Deposition Designations        9/23/2008
                                                                                                                       05/01/2008, 05/02/2008,
Hiramatsu, Aileen                                State Medicaid: Hawaii     May Call by Deposition Designations        06/11/2009, 07/14/2009

                                                                         Listed as May Call by the DOJ; if not,
Homar, Roxanne                                   State Medicaid: Wyoming Dey Will Call by Deposition Designations 12/2/2008
                                                 State Medicaid: South
Iversen, Larry                                   Dakota                  Will Call by Deposition Designations     12/15/2008
                    10014 Fox Den Road
                    Ellicott City, MD 21042
Jackson, Milton     410-465-6003                 OIG                        May Call by Deposition Designations        12/12/2008

                                                 State Medicaid:            Listed as May Call by the DOJ; if not,
Jeffrey, Paul                                    Massachusetts              Dey Will Call by Deposition Designations 06/14/2007, 10/19/2007
                    540 S Almond Street
                    Dixon, CA 95620
Johnston, Russell   916-678-3467                 Dey                        Will Call Live

Jones, Collen                                    State Medicaid: Wyoming May Call by Deposition Designations           12/3/2008
                    3426 Duck Avenue                                     Listed as May Call by the DOJ; if not,
                    Key West, FL 33040                                   Dey May Call Live or by Deposition
Jones, Mark         305-292-1635                 Ven-A-Care              Designations                                  12/8/2008, 12/9/2008
                                                 State Medicaid: North
Joyce, Brendan                                   Dakota                  Will Call by Deposition Designations          12/12/2008

Kenyon, James                                    State Medicaid: Michigan   May Call by Deposition Designations        3/25/2008



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                                              Dey's Medicare/Medicaid Witness List

                                                                                                                        Date of Designation (if
                   Last Known Address/Phone #                                  Intent to Call in Medicare/Medicaid      Witness May be Called by
Name               (if witness may be called live) Affiliation                 Trial                                    Deposition)
Ketchum, Kathy                                     State Medicaid: Oregon      May Call by Deposition Designations      12/15/2008
                                                   State Medicaid: West
King, Peggy                                        Virginia                    Will Call by Trial Testimony Designations 11/30/2005

Kramer, Sandra                                     State Medicaid: Michigan    Will Call by Deposition Designations     3/25/2008
                   3 Burton Lane
                   Loudonville, NY 12211
Lasky, Elizabeth   518-436-7951                    PSSNY                       May Call by Deposition Designations      4/23/2008
Leary, Paul                                        State Medicaid: Idaho       Will Call by Deposition Designations     12/1/2009
Mankin, Rebecca                                    State Medicaid: Missouri    May Call by Deposition Designations      10/17/2007
                   3185 Sonoma Valley Drive
                   Fairfield, CA 94534
Marrs, Pamela      707-429-5991                    Dey                         Will Call Live
Maxwell, Ann                                       CMS                         Will Call by Deposition Designations     6/10/2009
McCann, Susan                                      State Medicaid: Missouri    May Call by Deposition Designations      10/03/2007, 11/07/2007
                                                                                                                        01/13/2009, 01/14/2009,
McNeill, Martha                                    State Medicaid: Texas       May Call by Deposition Designations      02/07/2007, 02/08/2007
                   10519 Oakmoor Lane
                   Parker, CO 80134
Minne, Kristen     303-805-1665                    Compendia (RedBook)         May Call by Deposition Designations      11/18/2008, 11/19/2008

                 330 Independence Avenue, SW
                 Room 5660
                 Washington, D.C. 20201
Molyneaux, Nancy 202-619-0480                OIG                               May Call by Deposition Designations      1/11/2007

Morgan, Marcia                                     State Medicaid: Kentucky    May Call by Deposition Designations      10/8/2008

                   700 South Harbour Island Blvd.
Morgan, Patricia   Tampa, Florida 33602                                        Will Call Live or by Deposition          1/11/2005, 8/27/2007,
Kay                813-929-3615                   First DataBank               Designations                             11/30/2007




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                                              Dey's Medicare/Medicaid Witness List

                                                                                                                          Date of Designation (if
                    Last Known Address/Phone #                                  Intent to Call in Medicare/Medicaid       Witness May be Called by
Name                (if witness may be called live) Affiliation                 Trial                                     Deposition)
                    774 Exchange Mill Place
                    Dacula, GA 30019
Morris, Richard     770-338-2750                    CMS                         May Call by Deposition Designations       8/29/2007
Murphy, Heather                                     State Medicaid: Texas       May Call by Deposition Designations       3/31/2009

Nesser, Nancy                                      State Medicaid: Oklahoma Will Call by Deposition Designations          12/12/2008
                    901 Timber Run Road
                    Reisterstown, MD 21136                                      Will Call Live or by Deposition           9/14/2007, 10/11/2007,
Niemann, Robert     410-833-0766                   CMS                          Designations                              11/19/2009
                    2721 Laurel Street
                    Napa, CA 94558
Oberting, Joseph    707-256-3686                   Dey                          May Call Live

O'Connor, Frank                                    State Medicaid: Delaware May Call by Deposition Designations           12/10/2008

Oestreich, George                                  State Medicaid: Missouri     May Call by Deposition Designations       11/27/2007, 11/28/2007

                                                                                Listed as Expect Call by the DOJ; if not,
Parker, James                                      State Medicaid: Illinois     Dey May Call by Deposition Designations 11/18/2008
                                                   State Medicaid:
Parrella, David                                    Connecticut                  May Call by Deposition Designations       6/3/2005
Poulsen, Dorothy                                   State Medicaid: Montana      Will Call by Deposition Designations      2/22/2006

                    330 Independence Avenue, SW
                    Room 5660                                                   Listed as Expect to Call by the DOJ; if
                    Washington, D.C. 20201                                      not, Dey May Call Live or by Deposition
Ragone, Linda       202-619-0480                OIG                             Designations                              4/17/2007, 4/18/2007
                    11729 Crest Maple Drive
                    Lake Ridge, VA 22192                                        Will Call Live or by Deposition
Rector, John        703-878-2626                NCPA                            Designations                              7/28/2009
                    4000 Metropolitan Drive
Reed, Charles       Orange, CA 92868            Wholesaler
Joseph III          916-363-8406                (Amerisourcebergen)             May Call by Deposition Designations       8/28/2007




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                                                Dey's Medicare/Medicaid Witness List

                                                                                                                         Date of Designation (if
                     Last Known Address/Phone #                                  Intent to Call in Medicare/Medicaid     Witness May be Called by
Name                 (if witness may be called live) Affiliation                 Trial                                   Deposition)
                                                                                                                         03/18/2008, 09/26/2007,
                     7500 Security Boulevard                                                                             09/27/2007, 10/02/2008,
                     Baltimore, MD 21244                                         Listed as May Call by the DOJ; if not,  10/22/2008, 11/19/2009,
Reed, Larry          410-786-3000                    CMS                         Dey May Call by Deposition Designations 03/20/2008
Reich, Ron                                           Wholesaler (Cardinal)       May Call by Deposition Designations     6/7/2007
                     c/o Jean M. Geoppinger
                      Waite, Schneider, Bayless &
                     Chesley
                      1513 Fourth & Vine Tower
                      1 West Fourth Street
                     Cincinnati, OH 45202
Reid, Robert                                         State Medicaid: Ohio        Will Call by Deposition Designations    12/15/2008
                     429 N. Mosley Road
                     Creve Coeur, MO 63141
Rice, Charles        314-997-7906                    Dey                         May Call Live
                     7500 Security Boulevard
                     Baltimore, MD 21244                                         Will Call Live or by Deposition
Richter, Elizabeth   410-786-3000                    CMS                         Designations                            12/7/2007
                                                     State Medicaid: New
Ridout, Benny                                        Jersey                      May Call by Deposition Designations     12/5/2008
Robey, Victoria                                      CMS                         May Call by Deposition Designations     3/20/2007

Robinson, Mike                                       State Medicaid: Kentucky    May Call by Deposition Designations     2/7/2008
Rosenstein,
Stanley                                              State Medicaid: California May Call by Deposition Designations      05/19/2009, 11/06/2008

Rowlands, Mary                                       State Medicaid: Wisconsin May Call by Deposition Designations       11/1/2007

                                                                                 Listed as May Call by the DOJ; if not,
Rugg, Ann                                            State Medicaid: Vermont     Dey Will Call by Deposition Designations 12/15/2008
                     1801 Edgehill Drive
                     Alexandria, VA 22307                                        Listed as May Call by the DOJ; if not, Will
Scully, Thomas       703-683-3429                    CMS                         Call Live or by Deposition Designations 5/15/2007, 7/13/2007




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                                                Dey's Medicare/Medicaid Witness List

                                                                                                                           Date of Designation (if
                     Last Known Address/Phone #                                 Intent to Call in Medicare/Medicaid        Witness May be Called by
Name                 (if witness may be called live) Affiliation                Trial                                      Deposition)
                                                                                Listed as Expect to Call by the DOJ; if
                                                                                not, Dey May Call by Deposition
Selenati, Helen                                       Dey                       Designations                               05/04/2005, 05/05/2005

                     330 Independence Avenue, SW
                     Room 5660
                     Washington, D.C. 20201
Sernyak, Amy         202-619-0480                OIG                            May Call by Deposition Designations        3/6/2007
                     7500 Security Boulevard
                     Baltimore, MD 21244
Sexton, Gail         410-786-3000                CMS                            May Call by Deposition Designations        5/20/2008
                     9791 Wentworth Ct
                     Carmel, IN 46032-9383
Sharp, Michael       317-879-1370                State Medicaid: Indiana        Will Call by Deposition Designations       3/28/2008
Sharpe, Robert                                   State Medicaid: Florida        May Call by Deposition Designations        06/15/2006, 06/14/2006
Shirley, Carl                                    State Medicaid: Indiana        May Call by Deposition Designations        12/02/2008, 12/03/2008
Squartsoff, Laurie                               State Medicaid: Nevada         Will Call by Deposition Designations       3/6/2006
Steckel, Carol
Herrmann                                              State Medicaid: Alabama   May Call by Deposition Designations        03/28/2007, 04/18/2007
                                                      State Medicaid: New
Stevens, Robert                                       Mexico                    Will Call by Deposition Designations       12/15/2008
                     50 Main St.
Stiroh, Lauren,      White Plains, NY 10606
Ph.D.                914-448-4000                     Expert                    May Call Live
                     190 Parkridge Drive, Suite 108                             Listed as Expect to Call by the DOJ; if
                     Columbia, SC 29212                                         not, Dey will Call Live or by Deposition   02/28/2008, 02/29/2008,
Stone, Robin         803-407-4950                     DMERC (Palmetto)          Designations                               10/14/2009

                     1850 Memorial Blvd., Suite 202
                     Murfreesboro, TN               State Medicaid:             Will Call Live or by Deposition
Sullivan, Leo        615-896-3876                   Tennessee                   Designations                               3/12/2008




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                                               Dey's Medicare/Medicaid Witness List

                                                                                                                        Date of Designation (if
                    Last Known Address/Phone #                                 Intent to Call in Medicare/Medicaid      Witness May be Called by
Name                (if witness may be called live) Affiliation                Trial                                    Deposition)

                    330 Independence Avenue, SW
                    Room 5660
                    Washington, D.C. 20201                                     Will Call Live or by Deposition          04/24/2007, 04/25/2007,
Tawes, David        202-619-0480                OIG                            Designations                             12/02/2008, 12/13/2007
                                                Wholesaler
Teringer, Kate                                  (Amerisourcebergen)            May Call by Deposition Designations      4/4/2007

Terra, James                                        State Medicaid: California May Call by Deposition Designations      12/4/2008

Terrebonne, Mary                                    State Medicaid: Louisiana Will Call by Deposition Designations      11/7/2008

Tetkoski, Frank                                     State Medicaid: Maryland   May Call by Deposition Designations      12/11/2009

                                                                              Listed as Expect to Call by the DOJ; if
Thompson, Francis                                   CMS                       not, May Call by Deposition Designations 9/30/2008
Tipton, Bruce                                       Dey                       May Call by Deposition Designations         3/21/2006
Tomlison, Howard                                    State Medicaid: Virginia  May Call by Deposition Designations         11/03/2008, 11/04/2008
Toney, David                                        State Medicaid: Alabama   May Call by Deposition Designations         6/6/2007
                                                    State Medicaid: New       Listed as May Call by the DOJ; if not, Will
Vaccaro, Ed                                         Jersey                    Call by Deposition Designations             12/03/2008, 12/02/2008
                                                                                                                          08/16/2007, 09/26/2007,
Vavra, James                                        State Medicaid: Wisconsin May Call by Deposition Designations         09/27/2007

                    330 Independence Avenue, SW
                    Room 5660                                                                                           02/05/2008, 02/06/2008,
                    Washington, D.C. 20201                                     Listed as May Call by the DOJ; if not,   06/19/2007, 06/20/2007,
Vito, Robert        202-619-0480                 OIG                           May Call by Deposition Designations      12/02/2008
                    65 Bergen Street, Suite 1535
                    Newark, NJ 07101                                           Listed as May Call by the DOJ; if not, Will
Vladeck, Bruce      212-971-7243                 CMS                           Call Live or by Deposition Designations 05/04/2007, 06/21/2007
                    2933 Laurel Street
                    Napa, CA 94558
Walker, Gary        707-224-3200                 Dey                           May Call Live


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                                          Dey's Medicare/Medicaid Witness List

                                                                                                                    Date of Designation (if
               Last Known Address/Phone #                                 Intent to Call in Medicare/Medicaid       Witness May be Called by
Name           (if witness may be called live) Affiliation                Trial                                     Deposition)
Walsh, Jude                                    State Medicaid: Maine      Will Call by Deposition Designations       03/26/2008
                                               State Medicaid: North      Listed as May Call by the DOJ; if not,
Weeks, Lisa                                    Carolina                   May Call by Deposition Designations         10/21/2008
                                                                                                                      05/25/2005, 05/26/2005,
                                                                          Listed as May Call by the DOJ; if not, Will 08/15/2006, 12/15/2004,
Wells, Jerry                                   State Medicaid: Florida    Call by Deposition Designations             12/15/2008, 12/16/2004
               2829 University Avenue
               Southeast, Suite 530                                      Will Call Live or by Deposition
Wiberg, Cody   Minneapolis, MN 55414           State Medicaid: Minnesota Designations                               3/14/2008
                                               State Medicaid: Rhode
Young, John                                    Island                    May Call by Deposition Designations        12/3/2008




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